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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

DAVID KIRKWOOD
7151 Picnic Woods Road
Middletown, Maryland 21769

Plaintiff, CASE NO. 17-

Vs

FINANCIAL WEST GROUP, INC.
4510 Thousand Oaks Blivd.
Westlake, California 91362

Serve On:

Melanie Senter Lubin, Commissioner
Securities Division

Office of Attorney General

7 St. Paul Place

Baltimore, Maryland 21202

And

CAPITAL SYNERGY PARTNERS, INC.
4400 MacArthur Blvd.
Newport Beach, California 92660

Serve On:

Melanie Senter Lubin, Commissioner
Securities Division

Office of Attorney General

7 St. Paul Place

Baltimore, Maryland 21202

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Defendants. )

COMPLAINT AND DEMAND FOR JURY TRIAL

Plaintiff, David Kirkwood, hereby files this Complaint against
Financial West Group, Inc. and Capital Synergy Partners, Inc.,

Defendants herein, and states as follows:
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I. JURISDICTION AND VENUE

1. Plaintiff invokes the jurisdiction of this Court pursuant

26 U.S.0. § L332.

2s Venue is proper in this Court pursuant to 28 U.S.C. §8
1391 (a).
35 The amount in controversy herein exceeds the sum of

$75,000.00, exclusive of interest and costs.

II. PARTIES

4, David Kirkwood (“Kirkwood”) is a citizen of the State of
Maryland with a residence located at 7151 Picnic Woods Road,
Middletown, Maryland 21769. Kirkwood is a disabled former
carpenter. At all relevant times to this Complaint, Kirkwood was a
client of the Defendants and stood in a fiduciary relationship with
Defendants.

5; Financial West Group, Inc. (*FWG”) is a broker-dealer
registered and licensed through FINRA. Upon information and belief,
FWG is incorporated in the State of California and has its principal
place of business at 4510 Thousand Oaks Boulevard, Westlake,
California 91362. One of FWG’s branch offices was located in
Hampstead, Maryland and operated by its agent, servant and/or
employee, Gary Steciuk. FWG is a member firm of FINRA and is guided
and controlled by its rules. According to FWG’s website and

information on file with FINRA, it encourages customers like
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Kirkwood to place their trust and confidence in the firm’s financial
expertise and integrity, and it engages in the sale of multiple
investments products including, but not limited to, annuities.

6. Capital Synergy Partners, Inc. (“CSP”) is a broker-dealer
registered and licensed through FINRA. Upon information and belief,
CSP is incorporated in the State of California and has its principal
place of business at 4400 McArthur Boulevard, Newport Beach,
California 91362. One of CSP’s branch offices was located in
Hampstead, Maryland and operated by its agent, servant and/or
employee, Gary Steciuk. CSP is a member firm of FINRA and is guided
and controlled by its rules. According to CSP’s website and
information on file with FINRA, it encourages customers like
Kirkwood to place their trust and confidence in the firm’s financial
expertise and integrity, and it engages in the sale of multiple
investments products including, but not limited to, annuities.

7. Gary Steciuk (‘“Steciuk”) is currently incarcerated ina
federal prison camp in Duluth, Minnesota as a result of his
fraudulent conduct which victimized Kirkwood and many other FWG and
CSP customers. See U.S. v. Steciuk, 14-CR-00469 (D. Md. 2014). A
copy of the criminal complaint and plea agreement is attached as
EXHIBIT A. In connection with the criminal proceedings, Steciuk
admitted that he defrauded Kirkwood in connection with the annuity

sales described below. According to FINRA, Steciuk’s relevant
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employment history with FWG and CSP is as follows: (1) Steciuk was
employed by FWG as a registered representative or financial advisor
from 2002 through December 2011; and (2) Steciuk was employed by
CSP aS a registered representative or financial advisor from
January 2012 through July 2014. While employed by FWG and CSP,
Steciuk was subject to FWG’s and CSP’s control and supervision.

III. FACTS COMMON TO ALL COUNTS

A. KIRKWOOD’S EMPLOYMENT AND INVESTMENT HISTORY

8, Beginning in 2005, Kirkwood began experiencing serious
cardiac issues which ultimately prevented him from working as a
carpenter. By 2008, Kirkwood’s health issues caused him to stop
operating his contracting business. As a result of his health
problems, Kirkwood decided he needed to invest his savings in order
to generate income. Because he lacked the requisite experience and
training to prudently invest his savings, Kirkwood sought out the
services of a professional investment advisor to manage his life
Savings. Kirkwood selected and utilized the Defendants as his
investment advisor and relied upon the Defendants to properly
advise him, select suitable investments for him, perform adequate
due diligence on any investment recommended to him and monitor the

performance of the investments recommended to ensure their

continued suitability.
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9. Kirkwood’s primary objectives were for his savings to be
subject to minimal risk and to accumulate interest income. Kirkwood
was financially conservative due to his medical condition and was
opposed to investing his life savings in speculative or risky
securities.

B. STECIUK’S SCHEME TO DEFRAUD KIRKWOOD

10. Beginning in 2006, Steciuk, while acting within the scope
of his employment as FWG financial advisor, engaged in a scheme to
defraud Kirkwood by soliciting him to invest more than $400,000 in
what appeared to be legitimate annuity investments.

11. Steciuk’s deceit continued from 2006 through July 21,
2014. During this time period, Steciuk deceived Kirkwood into
believing that his savings had been invested in the following

annuities which paid guaranteed interest income:

Investment Name:
Date: Amount:

March 2006 ING Annuity - 5.25% $37,000

October 2006 | Lafayette Annuity - 6.0% $60,000

April 2008 Allianz Annuity - 6.0% $40,000

April 2008 Sun Life Annuity - 6.25% $60,000

May 2008 Old Mutual Annuity - 6.0% | $60,000

Sept. 2008 Sun Life Annuity - 6.25% $85,000

January 2010] ING Annuity - 5.5% $60,000

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12. Unbeknownst to Kirkwood was that Steciuk had converted
his $402,000 in savings to annuity investments controlled by
Steciuk and used by Steciuk for his own personal financial benefit.
Steciuk was able to perpetrate his fraudulent scheme by forging
Kirkwoood’s signature on legitimate annuity account applications
and other documents, directing the annuity issuers to send all
documentation to a post office box controlled by Steciuk,
Satisfying Kirkwood’s requests for withdrawals by paying Kirkwood
with the money Steciuk stole from him and by submitting forged
withdrawal requests to the annuity issuers. See EXHIBIT A.

13. Steciuk was able to successfully operate his fraudulent
scheme due the complete and utter lack of supervision by FWG and
CSP. Steciuk’s fraud was further concealed by the fact that he
traded on FWG’s and CSP’s representations of honesty, integrity,
and expertise as a financial advisory firm. Steciuk committed his
fraudulent acts with the actual or apparent authority of FWG and
later CSP and within the scope of his employment as a financial
advisor at FWG and later CSP.

14. In connection with each of the alleged annuity purchases
identified in paragraph no. 11; Steciuk omitted and/or
misrepresented the following material facts:

e Steciuk intended to convert the monies entrusted by

Kirkwood for his financial benefit and not for the
benefit of Kirkwood.
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e Steciuk intended to forge Kirkwood’s signature on
the annuity applications and withdrawal requests and
convert the annuity monies to his own use.

e Steciuk intended to conceal his fraudulent conduct by
diverting communications from the annuity issuers to a
P.O. Box controlled by him and by satisfying Kirkwood’s
periodic request for withdrawals from the funds that
Steciuk stole.

15. Unaware that he had been defrauded and that Steciuk was
utilizing his savings for his own financial benefit, Kirkwood
continued his relationship with Steciuk until approximately July
20, 2014. On July 20, 2014, Kirkwood was first made aware of
Steciuk’s fraudulent conduct after a bank contacted him about a
check made payable to Kirkwood that Steciuk was trying to negotiate.

16. At all times during the course of Kirkwood’s relationship
with Steciuk, Kirkwood remained in ignorance of Steciuk’s
fraudulent conduct because Steciuk continuously and falsely assured
him that his savings were legitimately invested in annuities. As a
result of Defendant’s fraudulent conduct, Kirkwood lost more than

$350,000 in principal and interest.

COUNT I
(Fraud - FWG)

17. Plaintiff hereby incorporates by reference the
allegations contained in paragraphs 1-16.

18. At all times relevant to this Complaint, FWG had both a
legal and fiduciary duty to disclose all material facts regarding

the annuities purchased for Kirkwood. At the same time, FWG had a
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duty to refrain from omitting material facts regarding the
annuities purchased for Kirkwood.

19... In violation of the aforementioned duties, FWG, by and
through its agent, servant and/or employee, Steciuk, knowingly made
the misrepresentations and omissions of material fact set forth in
paragraph nos. 10 through 16 of this Complaint and engaged in the
criminal conduct described in EXHIBIT A.

20. FWG intended for Kirkwood to rely upon its intentional
omissions and misrepresentations. Kirkwood reasonably and
justifiably relied on FWG’s omissions and misrepresentations to his
detriment.

21. AS a proximate result of the intentionally false and
misleading omissions and misrepresentations by FWG, Kirkwood
suffered damages.

2D FWG acted with actual malice, spite, ill-will, and intent
to injure and defraud Kirkwood by engaging in the fraudulent
management of his retirement savings.

WHEREFORE, Plaintiff, David Kirkwood, requests that a judgment
be entered in his favor and against Defendant, Financial West Group,
Inc., for compensatory damages of $400,000, with the exact amount
be determined at the trial of this matter, as well as punitive
damages in the amount of $800,000, plus costs and such other and

further relief as justice may require.
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COUNT II
(Constructive Fraud - FWG)

23. Plaintiff hereby incorporates by reference the
allegations contained in paragraphs 1 through 22.

24. In violation of the fiduciary duties owed to Kirkwood,
FWG engaged in a fraudulent course of conduct by causing Kirkwood
to invest his life savings in annuities which, unbeknownst to
Kirkwood, Steciuk would control and use for his own personal
financial benefit. FWG’s actions constituted a constructive fraud
because they were inherently deceptive and actually deceived
Kirkwood into thinking that his investments were being handled
properly and in accordance with his conservative investment
objectives and risk tolerance, when in fact they were being
converted by Steciuk for his own benefit. Moreover, FWG’s conduct
in managing the account of unsophisticated and vulnerable investor
like Kirkwood in the manner it did would have the tendency to
deceive the public at large and Kirkwood in particular.

25. Due to FWG’s superior knowledge of annuities, Kirkwood
reposed trust and confidence in it and reasonably and justifiably
relied on it to conduct itself so as to protect his interests. At
all times, Kirkwood reasonably believed that the actions taken by
Steciuk constituted an appropriate method by which Kirkwood could

meet his investment objectives.
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26. As a proximate result of FWG’s conduct, Kirkwood has
suffered and continues to suffer substantial damages.

27. FWG acted with actual malice, spite, ill-will, and intent
to injure and defraud Kirkwood by engaging in the fraudulent
management of his life savings.

WHEREFORE, Plaintiff, David Kirkwood, requests that a judgment
be entered in his favor and against Defendant, Financial West Group,
Inc., for compensatory damages of $400,000, with the exact amount
be determined at the trial of this matter, as well as punitive
damages in the amount of $800,000, plus costs and such other and

further relief as justice may require.

COUNT III
(Breach of Contract - FWG)

28. Plaintiff incorporates paragraphs 1-27 as if they were
fully set forth herein.

29. Plaintiff entered into contractual agreements with the
FWG whereby, in consideration for commissions, fees and other
considerations paid to FWG by Plaintiff, FWG would provide him with
advice with regard to the suitable investment of his savings. The
agreements contained the implied understanding that FWG would
conduct itself in good faith and only advise Plaintiff to purchase
Suitable investments.

30. FWG breached the aforesaid agreements by failing to deal

with Kirkwood in good faith and soliciting him to purchase annuities

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that would be controlled by and used by Steciuk for his own benefit.
As a result of these breaches, Kirkwood suffered substantial
damages.

31. FWG is liable for these breaches both directly and
vicariously, as the principal/employer of Steciuk, the agent,
servant and/or employee assigned to manage Plaintiff’s savings.

WHEREFORE, Plaintiff, David Kirkwood, requests that a judgment
be entered in his favor and against Defendant, Financial West Group,
Inc., for compensatory damages of $400,000, with the exact amount
be determined at the trial of this matter, plus prejudgment
interest, costs and such other and further relief as justice may

require.

COUNT IV
(Negligent Supervision - FWG)

32. Plaintiff incorporates paragraphs 1-31 as if they were
fully set forth herein.

33. FWG owed Kirkwood a duty to exercise proper supervision
over Steciuk to ensure that his behavior in connection with the
management of Kirkwood’s savings was in accordance with all
applicable laws, regulations and industry standards.

34. FWG was required to establish and maintain an effective
system to Supervise Steciuk’s activities which required, at a
minimum: (1) periodic examination of all customer accounts; (2) the

review and endorsement of all transactions; (3) the review of all

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incoming and outgoing written and electronic correspondence with
the public relating to the investment business; and (4) ensuring
that its financial advisors were managing investment accounts ina
manner consistent with stated investment objectives and risk
tolerance.

35. FWG breached its supervisory obligations by failing to
exam the files Steciuk maintained regarding Kirkwood; failing to
review and approve of the annuity transactions at issue; and failing
to review all of Steciuk’s incoming and outgoing correspondence.
As a result of FWG’s failure to supervise, Steciuk engaged in the
misconduct detailed in paragraph nos. 10 to 16 and continued it
without detection and correction.

36. Kirkwood suffered damages proximately caused by FWG’s
negligent failure to supervise Steciuk.

WHEREFORE, Plaintiff, David Kirkwood, requests that a judgment
be entered in his favor and against Defendant, Financial West Group,
Inc., for compensatory damages of $400,000, with the exact amount
be determined at the trial of this matter, plus costs and such
other and further relief as justice may require.

COUNT V
(Fraud - CSP)

37. Plaintiff hereby incorporates by reference the

allegations contained in paragraphs 1-36.

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38. At all times relevant to this Complaint, CSP had both a
legal and fiduciary duty to disclose all material facts regarding
the annuities purchased for Kirkwood. At the same time, CSP had a
duty to refrain from omitting material facts regarding the
annuities purchased for Kirkwood.

39. In violation of the aforementioned duties, CSP, by and
through its agent, servant and/or employee, Steciuk, knowingly made
the misrepresentations and omissions of material fact set forth in
paragraph nos. 10 through 16 of this Complaint and engaged in the
criminal conduct described in EXHIBIT A.

40. CSP intended for Kirkwood to rely upon its intentional
omissions and misrepresentations. Kirkwood reasonably and
justifiably relied on CSP’s omissions and misrepresentations to his
detriment.

Al. As a proximate result of the intentionally false and
misleading omissions and misrepresentations by CSP, Kirkwood
suffered damages.

42. CSP acted with actual malice, spite, ill-will, and intent
to injure and defraud Kirkwood by engaging in the fraudulent
management of his retirement savings.

WHEREFORE, Plaintiff, David Kirkwood, requests that a judgment
be entered in his favor and against Defendant, Capital Synergy

Partners, Inc., for compensatory damages of $400,000, with the

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exact amount be determined at the trial of this matter, as well as
punitive damages in the amount of $800,000, plus costs and such

other and further relief as justice may require.

COUNT VI
(Constructive Fraud - CSP)

43. Plaintiff hereby incorporates by reference the
allegations contained in paragraphs 1 through 42.

44, In violation of the fiduciary duties owed to Kirkwood,
CSP, by and through its agent Steciuk, continued to defraud Kirkwood
and acted as his financial from January 2012 through July 2014.
During this time period, CSP falsely assured Kirkwood that his
savings was legitimately invested and accumulating interest. CSP
intentionally failed to disclose that its agent, servant and/or
employee, Steciuk, had converted the annuities to his own use and
was depleting their value by way of unauthorized withdrawals. See
EXHIBIT A. CSP’s actions constituted a constructive fraud because
they were inherently deceptive and actually deceived Kirkwood into
thinking that his investments were being handled properly and in
accordance with his conservative investment objectives and risk
tolerance, when in fact they were being converted by Steciuk for
his own benefit. Moreover, CSP’s conduct in managing the account

of unsophisticated and vulnerable investor like Kirkwood in the

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manner it did would have the tendency to deceive the public at
large and Kirkwood in particular.

45. Due to CSP’s superior knowledge of annuities, Kirkwood
reposed trust and confidence in it and reasonably and justifiably
relied on it to conduct itself so as to protect his interests. At
all times, Kirkwood reasonably believed that the actions taken by
Steciuk constituted an appropriate method by which Kirkwood could
meet his investment objectives.

46. As a proximate result of CSP’s conduct, Kirkwood has
suffered and continues to suffer substantial damages.

47. CSP acted with actual malice, spite, ill-will, and intent
to injure and defraud Kirkwood by engaging in the fraudulent
Management of his life savings.

WHEREFORE, Plaintiff, David Kirkwood, requests that a judgment
be entered in his favor and against Defendant, Capital Synergy
Partners, Inc., for compensatory damages of $400,000, with the
exact amount be determined at the trial of this matter, as well as
punitive damages in the amount of $800,000, plus costs and such
other and further relief as justice may require.

COUNT VII
(Breach of Contract - CSP)

48. Plaintiff incorporates paragraphs 1-47 as if they were

fully set forth herein.

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49. Plaintiff entered into contractual agreements with CSP
whereby, in consideration for commissions, fees and other
considerations paid to CSP by Plaintiff, CSP would provide him with
advice with regard to the suitable investment of his savings and
to protect his savings from loss. The agreements contained the
implied understanding that CSP would conduct itself in good faith
and not divert Plaintiff’s assets to its own use or benefit.

50. CSP breached the aforesaid agreements by permitting
Steciuk to convert the annuities to his own use and allowing Steciuk
to make unauthorized withdrawals from the annuities. As a result
of these breaches, Kirkwood suffered substantial damages.

Sl. CSP is liable for these breaches both directly and
vicariously, as the principal/employer of Steciuk, the agent,
servant and/or employee assigned to manage Plaintiff’s savings.

WHEREFORE, Plaintiff, David Kirkwood, requests that a judgment
be entered in his favor and against Defendant, Capital Synergy
Partners, Inc., for compensatory damages of $400,000, with the
exact amount be determined at the trial of this matter, plus

prejudgment interest, costs and such other and further relief as

justice may require.

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COUNT VIII
(Negligent Supervision)

52. Plaintiff incorporates paragraphs 1-51 as if they were
fully set forth herein.

53. CSP owed Kirkwood a duty to exercise proper supervision
over Steciuk to ensure that his behavior in connection with the
management of Kirkwood’s savings was in accordance with all
applicable laws, regulations and industry standards.

54. CSP was required to establish and maintain an effective
system to supervise Steciuk’s activities which required, at a
minimum: (1) periodic examination of all customer accounts; (2) the
review and endorsement of all transactions; (3) the review of all
incoming and outgoing written and electronic correspondence with
the public relating to the investment business; and (4) ensuring
that its financial advisors were managing investment accounts ina
Manner consistent with stated investment objectives and risk
tolerance.

55. CSP breached its supervisory obligations by failing to
exam the files Steciuk maintained regarding Kirkwood; failing to
review and approve of the annuity transactions at issue; and failing
to review all of Steciuk’s incoming and outgoing correspondence.
As a result of CSP’s failure to supervise, Steciuk engaged in the
misconduct detailed in paragraph nos. 10 to 16 and continued it

without detection and correction.

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56. Kirkwood suffered damages proximately caused by CSP’s
negligent failure to supervise Steciuk.

WHEREFORE, Plaintiff, David Kirkwood, requests that a judgment
be entered in his favor and against Defendant, Capital Synergy
Partners, Inc., for compensatory damages of $400,000, with the
exact amount be determined at the trial of this matter, plus costs

and such other and further relief as justice may require.

Respectfully submitted,

To
Thomas C. Costello (Bar No. 22978)
Matthew T. Holley (Bar No. 19001)
Costello Law Group
409 Washington Avenue, Suite 410
Towson, Maryland 21204
(410) 832-8800 (telephone)

(410) 832-8807 (facsimile)
tcc@costellolawgroup.com
mth@costellolawgroup.com

Dated: July 18, 2017

JURY TRIAL DEMANDED

Plaintiff hereby demands and requests that all claims, actions

and causes of action set forth herein be tried before a jury.

cS

Thomas C. Costello

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AO 91 (Rev. 11/11) Criminal Complaint ef LED} ENTER
————_RECENED

UNITED STATES DISTRICT COURT

for the AUG. 06 2014
District of Maryland
AT BALTHORE
CLERK U.S. DISTRICT CouRT
United States of America ) sy DISTRICT CONE rae
v. )
) Case No.
14-1761TJS
GARY CLARK STECIUK )
2
Defendant(s)
CRIMINAL COMPLAINT
1, the complainant in this case, state that the following is true to the best of my knowledge and belief,
On or about the date(s) of April 2008-July 2014 in the county of Carroll in the
District of Maryland , the defendant(s) violated:
Code Section ‘Offense Description
18 U_S.C. Section 1028(A)} Aggravated Identity Theft
18 U.S.C. Section 1341 Mail Fraud
18 U.S.C. Section 1344 Bank Fraud

This criminal complaint is based on these facts:

@ Continued on the attached sheet. : Yo
J “
hele signature

Shayne Buchwald, Special Agent, FBI

Printed name and title
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Swom to before me and signed in my presence. PF" ot

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Bate: 08/06/2014 a Mmqwywy)

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a oe
City and state: Baltimore, MD Timothy.d, Sutivan, U.S. Magistrate Judge
* ¢Printéd name and title
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EXHIBIT

1A

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AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT AND ARREST WARRANT

FOR GARY CLARK STECIUK

Your affiant, Shayne E. Buchwald, being first duly sworn, hereby depose and state as
follows in support of a criminal complaint and arrest warrant for:

GARY C. STECIUK
DOB: **/**/1975
SSN; ***-**.4935
INTRODUCTION AND AGENT BACKGROUND

I, SHAYNE E. BUCHWALD, being duly sworn, state as follows:

1, lam a Special Agent with the Federal Bureau of Investigation. I have been so
employed since approximately July 2002. I am currently assigned to the FBI field office in
Baltimore, Maryland. I am a Special ‘Agent with the Federal Bureau of Investigation “FBI”, and
have been since July 2002. I have participated in a vast array of criminal investigations to
include drug violations, violent crime, interstate theft and misuse of public office. In part, I have
been the affiant and case agent on wire and oral intercept affidavits, as well as Global
Positioning, and search warrants. Those investigations have led to the recovery of evidentiary
items to include illegal drugs, weapons, stolen property, financial property, and related items as
well as indicia of those involved.

2 Currently, I investigate criminal violations relating to white collar crime,
including mail, wire, and bank fraud, as well as aggravated identity theft. I have participated in
numerous investigations of these offenses, the execution of related federal search warrants, and
the arrests of individuals charged with such offenses.

Je The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This affidavit is intended

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to show merely that there is sufficient probable cause for the requested warrant and does not set
forth all of my knowledge about this matter.

4, Based on the facts set forth in this affidavit, there is probable cause to believe that
GARY C. STECIUK has violated 18 U.S.C. Sections 1028 (A) (aggravated identity theft), 1341

(mai! fraud), 1343 (wire fraud) and 1344 (bank fraud).

STATEMENT OF PROBABLE CAUSE

A. Aggravated Identity Theft, Mail, Wire and Bank Fraud

§, On July 21, 2014, David Kirkwood, contacted the Baltimore FBI office and
complained that his financial advisor, GARY STECIUK, dba Capital Synergy Partners, stole
over $600,000 from his investment accounts. Kirkwood resides in Middletown, Maryland.
Kirkwood stated he had received nominal interest payments from STECIUK to make it appear as
if his investment accounts were operating normally. Kirkwood’s call to the FBI was prompted
by a telephone call from his friend, Gary “Randy” Robbins during the weekend of July 19, 2014.
Robbins informed Kirkwood that he had spoken to a bank investigator, Bryan Beaver, of BMO
Harris Bank in Chicago, Illinois. STECTUK has bank accounts with BMO Harris Bank. Beaver
informed Robbins that STECIUK had endorsed a $300,000 check made out to Robbins, then
attempted to deposit the check into his account at BMO Harris Bank in Illinois. Robbins had not
authorized this transaction. Kirkwood advised he received a telephone call on his answering
machine from Beaver but had not yet returned the call.

6. On July 20, 2014, Kirkwood reviewed his accounts and found that six of his
annuities accounts had been depleted and his IRA account was diminished. Kirkwood noticed

that starting in approximately 2012, someone had periodically withdrawn fifteen to twenty
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thousand dollars, without his knowledge or authorization. In addition, Kirkwood said that some
of his accounts had been closed without his knowledge.

7. On July 21, 2014, Kirkwood spoke to Investigator Bryan Beaver, who informed
Kirkwood that STECIUK deposited eight of Kirkwood’s checks into STECIUK’s BMO Harris
Bank account. STECIUK deposited four checks from ING and four checks form Fidelity and
Guaranty Life Insurance Company, for a total of $160,000. Each of the checks was made
payable to Kirkwood, and listed his address as “P.O. Box 335, Hampstead, MD 21074-0335.”
Kirkwood advised he had no knowledge of that address. Kirkwood advised that each of these
checks were issued without his knowledge and that STECIUK does not have power of attorney
over his accounts. Investigator Beaver sent Kirkwood two of the checks STECIUK had
deposited so the Kirkwood could review the endorsement signatures. Kirkwood stated that the
signatures on the checks were not his and therefore forged.

8. On August 5, 2014, your affiant coordinated with Jeffrey Saltsman, the
Postmaster of the Hampstead, Maryland U.S. Post Office. Saltsman informed your affiant that
STECIUK opened P.O. Box 335 in 2002, and maintains the P.O. Box to this day. Saltsman
further advised STECIUK gets regular mail delivered to 3903 Bixler Church Road, Westminster,
Maryland.

9. Kirkwood stated he had used STECIUK as his financial advisor since 2005 when
STECIUK was with GCS Financial. STECIUK later moved to Financial West and is now
currently at Capital Synergy Partners. Kirkwood estimated that he has invested roughly
$600,000 with STECIUK as his financial planner. STECIUK set up an account for Kirkwood
where Kirkwood’s principal would not be affected and where Kirkwood would receive accrued

interest payments via direct deposit through his bank, Middletown Bank in Maryland.
3

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STECIUK oversaw seven annuity accounts and a retirement account for Kirkwood. Kirkwood
said that he had received checks on time from his annuity aponiinits and only recently noticed that
he was not receiving them.

10. On July 31, 2014, your affiant showed Kirkwood copies of four checks from
Fidelity & Guaranty Life Insurance Company made out to Kirkwood, with the address of P.O.
Box 335, Hampstead, MD 21074 in the amounts of $3,600, $26,250, $29,550 and $21,866.96
respectively. Each check was for deposit in STECIUK’s BMO Harris Bank bearing a signature
of David Kirkwood. Kirkwood advised the address and the signature is forged. In addition,
Kirkwood had no knowledge of the checks drawn on the account.

11. On July 31, 2014, ING Senior Investigator Bill Fountain reviewed several
documents with Kirkwood, including applications for accounts and request for financial service
documents. Kirkwood identified three documents, one for fixed annuities, one for deferred
variable annuity and another for direct deposit authorization all bore Kirkwood’s true signature.
Kirkwood then reviewed the following documents that allegedly bore his signatures: USA
Golden Select Variable Application dated April 22, 2008; USA Fixed Annuity Application,
dated January 9, 2010; a Request for Financial Services to withdraw $20,000 dated October 20,
2013; a Request for Financial Services to withdraw $11,283 on November 15, 2013; a Request
for Financial Services to withdraw $2,389 on November 19, 2013; a Request for Financial
Services to withdraw $26,309 on December 3, 2013; and another Request for Financial Services
to withdraw $22,307 on January 7, 2014. Kirkwood also reviewed four checks for $20,000,
$11,283, $2,389 and $26,309 ; all of which bore Kirkwood’s alleged signature. Kirkwood
indicated that each of the above-mentioned signatures were forged. The checks from

Kirkwood’s ING accounts were deposited into STECIUK’s BMO Harris Bank account.
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12. On July 24, 2014, your affiant spoke with Investigator Bryan Beaver regarding
another STECIUK transaction. Beaver advised on July 17, 2014, a banker out of BMO Harris’s
Northbrook office reviewed a $300,000 wire transfer request from STECIUK to a title company,
General Land and Title Services, in Heber Springs, Arkansas. The banker noted that the
$300,000 check was made out to Gary Robbins from Maryland. On July 18, 2014, a BMO
analyst put a freeze on STECIUK’s account and telephoned STECIUK about the $300,000
transaction. STECIUK advised the analyst that he and Robbins were business partners. Beaver
telephoned Robbins, who advised that he and STECIUK are not business partners. In addition,
Robbins indicated that he did not authorize STECIUK to write the $300,000 check from his
account. Beaver asked Robbins to send a photocopy of his driver’s license. Beaver then
compared the-Robbin’s driver’s license photographs with the photographs of the individual
depositing the $300,000 check at an ATM in Mundelein, Illinois. Beaver reviewed a photograph
dated 7/13/2014, of an individual depositing Robbin’s $300,000 check, and determined that it
was not Robbins. Your affiant compared STECIUK’s DMV photo to the individual in the ATM
photograph, and determined that it was STECIUK who deposited the $300,000 check into the
ATM.

13. Investigator Beaver told your affiant that after BMO Harris analyst Wanda
Zienhiewicz telephoned STECIUK and confronted him about the check made out to Robbins for
$300,000, BMO Harris received a faxed “Affidavit of Endorsement” allegedly signed by
Robbins. The document was notarized by Karen Giles of Clearburne County Clerk’s Office in
Arkansas.

14. On August 4, 2014, your affiant spoke to Karen Giles of the Clearburne County

Clerk’s Office. Giles advised she notarized an Affidavit of Endorsement on July 18, 2014 at
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approximately 2:00 — 3:30 pm. A man of thin build, late 30’s, with brown hair came into the
office and showed her a driver’s license with the name “Gary Robbins” on it. The license was
out-of-state and appeared to be of the gentleman standing in front of her. Giles stated the man
kept his head down and did not give her eye contact. Giles stated that she does not remember
seeing that same gentleman before or after July 18, 2014. Your affiant reviewed STECIUK’s
driver’s license photograph and of Robbins driver’s license photograph, the men look nothing
alike. Robbins is early 60’s, heavy set and balding. STECIUK is late 30’s, thin build and has a
full head of brown hair.

15,  OnJuly 24, 2014, your affiant spoke to Gary “Randy” Robbins. Robbins also
used STECIUK as his financial advisor. Robbins advised he received a telephone call from
BMO Harris Bank investigator, Bryan Beaver. Investigator Beaver told Robbins that STECIUK
attempted to deposit a $300,000 check made out to Robbins into STECIUK’s BMO Harris Bank
account. Robbins was told that STECIUK advised BMO Harris Bank employees that he and
Robbins were business partners and that STECIUK had authority to transfer the money. Robbins
informed Beaver that he and STECIUK were not business partners. According to Robbins,
STECIUK has no power of attorney over Robbins’ accounts. Robbins had no knowledge of the
$300,000 check that STECIUK attempted to deposit into his account at BMO Harris Bank.
Robbins was told by Beaver that in addition to the $300,000 check, a $50,320 check from ING
and a $40,504 check from First American Bank both in Robbins name was deposited into
STECIUK’s account. Robbins indicated he had not authorized either of these checks,

16. On August 5, 2014, your affiant spoke to Robbins again, and questioned him

regarding the “Affidavit of Endorsement” that had been sent to BMO Harris Bank. Robbins
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indicated that he had not prepared the “Affidavit of Endorsement” and had no knowledge of this
document.

17. On July 24, 2014, your affiant spoke to ING Senior Investigator Bill Fountain
regarding STECIUK. Fountain advised STECIUK was an Agent for Capital Synergy Partners,
and sold ING products. Fountain had received a telephone call from BMO Bank Investigator
Bryan Beaver, informing him that STECIUK had deposited ING checks made out to: David
Kirkwood, Kenneth Odea, Virginia Kerry, Lorraine Stair and Gary Robbins into STECIUK’s
account with BMO Harris Bank. Fountain advised STECTUK managed each of the
aforementioned individual’s pension funds and was responsible for the distribution of each
client’s checks. When reviewing the aforementioned client’s records, Fountain found STECIUK
changed the addresses on the accounts to PO Box 335, Hampstead, Maryland using a non-
financial services form and apparently forged the signatures on these documents. The
investigation further revealed that STECIUK changed Robbins’ contact information on May 29,

2014 using his email account gary@ecsfin.com.

18. According to Investigator Fountain, STECIUK filled out a financial service
request on June 15, 2014 to obtain money from Robbins’ account. STECIUK attempted to
withdraw $50,000 and $40,000 from Robbins’ account using ACH transfer. STECIUK set up
the ACH transaction with a forged authorization form and a voided starter check making it
appear as if Robbins authorized the transaction. Investigator Fountain advised it is not ING
policy to set up such a transaction with a starter check. According to Investigator Fountain,
STECIUK faxed the forged authorization form, along with the starter check, to ING. STECIUK

wrote Robbins name on the check, and listed PO Box 335, Hampstead, Maryland as Robbins’

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address. STECIUK listed 410-374-5588 as Robbins’ phone number. Public records indicate
phone number 410-374-5588 is assigned to STECIUK.

19. Investigator Fountain further advised your affiant that on July 18, 2014,
STECIUK attempted to execute a fraudulent request for financial service using Kenneth Odea’s
acces According to juvestivator Fountain, STECIUK changed Odea’s address to P.O. Box
335, Hampstead, Maryland. STECIUK listed 410-374-5588 as Odea’s phone number. Public
records indicate phone number 410-374-5588 is assigned to STECIUK. STECIUK attempted to
have a check for $300,000 drawn on Odea’s account, made payable to General Land and Title
Company, with an address of 107 S. 3" Street, Hever Springs, Arkansas. The reference on the
check was “Acct: Mize”. This transaction was not successful.

20. On July 25, 2014, your affiant spoke with David Hill, who advised that he was in
the process of selling his house to STECTUK and his girlfriend, Dusti Mize. The house for sale
is located in Heber Springs, Arkansas. Hill advised that STECIUK and Mize took possession of
his home at closing on July 18, 2014. STECIUK used General Land and Title Company to

obtain a title for the house and settlement was for the cash price of $279,500. Hill learned that

STECIUK could not get the funding for the house but Hill allowed STECIUK and Mize to
occupy the house after STECIUK tendered a $5,000 check to go toward the cost. On July 25,
2014, Hill and Mize exchanged the following text message:
Hill: 4:10 p.m. I drove by to see if I had a box on the front porch from
Action Industrial Group ...It would be kind of heavy... Have you seen it?

Its full of bolts. And pool guy should be calling anyday about the light.

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‘Mize: 4:13 p.m. First off...sorry about all of the trouble. Haven’t received

any packages. You do have some mail on the bar. I didn’t the mailman

send it back.

Hill: 4:16 p.m, It will sort out im sure..Im just in a bad pickle not have my

" money ya know. Can I come back up and get the mail.

Mize: 4:16 p.m. I know sure

Hill: 4:17 p.m. Ok Is Gary in town?

Mize: 4:17 p.m. I meant those in two separate texts sorry.

Hill: 4:17 p.m. Its alright

Mize: 4:17 p.m. Yes. He’s talking to someone about a mortgage at the

moment.

Hill: 4:18 p.m. Ok .... goid idea. Might be the best way to resolve this..

Mize: 4:19 p.m. J agree....im not sure if we’re supposed to discuss this,

but I have nothing to hide.

Hill: 4:20 pt Its fine for you to have disclosed that to me... No worries.

Mize: Ok

21. On July 29, 2014, your affiant interviewed Kenneth Odea. Odea advised that he

received a telephone call from Investigator Bryan Beaver, who told him that on June 9, 2014,
STECIUK deposited a check for $21,000 in Odea’s name into STECIUK’s BMO Harris Bank
account. The check indicated that Odea’s address was P.O. Box 335, Hampstead, Maryland.
Odea reviewed the check for $21,000, and advised that the signature on the check is forged.
Odea pointed out that his name is spelled incorrectly, and Odea does not have a P.O. Box 335,

Hampstead Maryland address. In addition to the $21,000 forged check, Beaver informed Odea
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that three additional checks in the amounts of $14,750, $15,694.63, and $22,145, all from
Ameritas Life Insurance Corp., were made out to Odea and deposited into STECIUK’s BMO
Harris Bank account. Odea advised he had no knowledge of these checks drawn on his account
and did not give STECIUK authority to make these withdrawals. Odea stated that he has been
using STECIUK as his financial advisor since 2005, and that all of Odea’s investments were
made with STECIUK’s recommendations. Odea advised that STECIUK does not have power of
attorney over any of his accounts.

22.  OnJuly 29, 2014 Investigator Bill Fountain reviewed ING’s USA deferred
variable annuity application with Odea, and Odea identified his true signature. Investigator
Fountain then asked Odea to seariewn a request for financial service document to withdraw
$300,000. Odea indicated that he did not make this request, and signed a forgery affidavit for
ING stating that he did not make this request, had no knowledge of the request, or knowledge of
the PO Box 335 Hampstead Maryland address on the request. Furthermore, Odea advised that
he did not go to Heber Springs, Arkansas and attempt to have money wired to an account in the
name of Mize.

23. On July 29, 2014, your affiant interviewed Virginia Kerry, who advised that
STECIUK had been her financial planner in 2005. Kerry has had no contact with STECIUK
since 2012. Kerry informed that a year ago she was contacted by Great American Bank
investigator, Tony McDaniel, who advised STECIUK was wiring money out of Kerry’s account.
Kerry told McDaniel that STECIUK did not have permission to move her money.

24. —_ In April 2012, Kerry received a telephone call from Lincoln Financial Group
‘ (“LFG”). The LFG representative advised Kerry not to close her LFG account as it would result

in a $10,000 loss to her. Kerry stated she did not intend to close her account and had no

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knowledge of the requested transaction. LFG sent Kerry the account closure request for her
review, and Kerry stated that her signature on the document was forged. In April 2012,
STECIUK contacted Kerry via emaii and attached a letter informing her he was moving to a new
company. STECIUK sent Kerry a letter in the mail with a document for her to sien that would
allow STECIUK to take her accounts with him to his new company. Kerry told STECIUK that
she would not sign the documents because she would like to discuss her accounts in person with
him. STECIUK never met with Kerry to discuss her accounts, so Kerry never gave him
authority to take her accounts with him. Kerry advised that STECIUK had no power of attorney
over her accounts.

25. On July 29, 2014, ING Senior Investigator Bill Fountain showed Kerry a
document for deferred variable annuity for ING that Kerry identified as having knowledge of and
bore her true signature. Kerry was shown a request for non-financial services form dated
October 6, 2008 to change her address to a P.O. Box 335 in Hampstead, Maryland. Kerry
advised she had no knowledge of that address, did not request a change of address, and that her
signature was forged on the document. Kerry was shown a document dated October 16, 2013,
which was for a full contract surrender of $14,000 on-her ING account. Kerry reviewed the
document and advised it was not her request and her signature was forged. Lastly, Kerry was
shown a check issued to her for $15,497 that was deposited into STECIUK’s BMO Harris Bank
account. Kerry advised that the signature on the check is forged, she has no knowledge of the
P.O. Box 335 Hampstead, Maryland address on the check and had no knowledge of the check
drawn on her account.

26. On July 30, 2014, your affiant met with Lorraine Stair who advised STECIUK

has been her financial advisor since 1997. Stair has two accounts with STECIUK, one of which

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was ING. Stair believed her accounts were worth approximately $200,000. STECIUK never
had power of attorney over Stair’s finances. Stair has not spoken to STECIUK in over a year
and a half.

27. On July 30, 2014, Investigator Bill Fountain showed Stair an ING fixed annuity
document that Stair identified as bearing her true sioneriure, Stair was then shown a request for
non-financial service form dated April 22, 2009 to change her address to P.O. Box 335
Hampstead, Maryland. Stair advised that she does not know that address, and did not request the
address change. She further indicated that the signature on the document is forged. Stair was
shown a request for financial service dated April 20, 2014 to withdraw $41,200. Stair advised
she did not make the request and the signature on the document is forged. Stair was shown a
check bearing her name with the P.O. Box 335 address on it for $41,200 for deposit in to
STECIUK’s BMO Harris Bank account. Stair had no knowledge of this transaction, did not give
STECIUK authority to take the money and advised the signature on the check is forged.

28. On July 30, 2014, your affiant spoke with Colleen Goodman, who advised
STECIUK was her financial planner since April 2004. Goodman made real estate investments
through Steciuk, and also had two bonds that STECIUK set up for her so that she could live off
of the interest. Both bonds were due to mature last year but Goodman has not received any
funds from the bonds. In addition to the bonds, Goodman had investments with Cornerstone
Properties and with GMAC. Goodman advised she invested a lot of money into the GMAC
account and recently learned that she only had $13,000 left. In April 2013, Goodman spoke with
American Financial Group investigator, Tony McDaniel, about STECIUK sometime last year

and told him that STECIUK moved her annuity without her permission.

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29. ° On August 1, 2014 your affiant reviewed four ATM photographs of an individual
making deposits into STECIUK’s BMO Harris Bank. The most recent photograph occurred on
July 13, 2014, where STECTUK is making a $300,000 check deposit into STECIUK’s personal
BMO Harris Bank account with Robbins forged check. Your affiant determined that in each of
the ATM photographs, STECIUK was the individual making the ATM deposits.

30. On August 1, 2014, your affiant spoke with JoAnn Mileo, who advised that she
met STECIUK in 1992 via his now wife, Vicki Steciuk. STECIUK set up funds for her and her
mother, Sherry Schindler. Mileo advised that her mother invested over $100,000 with
STECIUK, through Great American Financail Group. Mileo stated she called Great American
Financial Group with concerns about STECIUK. Mileo stated she was told that STECIUK was
interviewed by Great American Financial Group, and STECIUK admitted to signing Mileo’s and
Schindler’s names on documents without their knowledge or consent. Mileo advised that she
and her mother, who has dementia, never gave STECIUK power of attorney over any of their
accounts. After the Great American Financial Group incident, they took STECIUK’s name off
of all of their accounts.

31. On August 1, 2014, your affiant spoke to Great American Financial Group
Investigator, Tony McDaniel, who advised STECIUK was appointed with Great American
Insurance (“GAI”) from October 2010 to July 23, 2013. On July 18, 2013, McDaniel
interviewed Appointed Agent Gary STECIUK who confessed to forging annuitant’s signatures
on policies. STECIUK admitted to McDaniel he forged the name of JoAnn Mileo on the
application for GAI annuity, dated March 10, 2011, and transferred approximately $46,000 of
Mileo’s funds from Sunlife to GAI without her knowledge. STECIUK also admitted to forging

the name of Sherry Schindler, Mileo’s mother, on a Fidelity and Guaranty Life annuity

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application to GAI. STECIUK also admitted to forging the name of Stephen Johnson on the
application for GAI annuity dated November 1, 2012, and transferred funds of $70,000 without
Johnson’s knowledge or consent. In addition to Mileo, Schindler, and Johnson, STECIUK
admitted to McDaniel that he also forged the signature of Nancy Row.
REQUEST FOR AN ARREST WARRANT

32. Based upon the above information, the affiant requests that an arrest warrant be
issued for the individual identified as GARY C. STECIUK, for violations of 18 U.S.C. §1028(A)
(aggravated identity theft), 18 U.S.C. §1344 (bank fraud), 18 U.S.C. §1341 (mail fraud) and 18
U.S.C. §1343 (wire fraud) because from in or about March 10, 2011, to the present, in the
District of Maryland and elsewhere, STECIUK has attempted to engage in and has engaged ina
scheme to defraud a financial institution utilizing various facilities of interstate commerce,
including the internet, the telephone, electronic mail, and U.S. mail to attempt to engage in a
scheme, and to engage in a scheme to defraud or to obtain money from a federally-insured
financial institution by means of false or fraudulent pretenses, representations, or promises. In
addition, STECIUK knowingly transferred, possessed and used, without lawful authority, the
means of identification of victims during and in relation to the commission of bank fraud and
attempted bank fraud, a specific relevant felony enumerated in 18 U.S.C. §1028A(c)(5).

REQUEST FOR SEALING

33. Because this matter related to an ongoing criminal investigation involving an
individual not currently in custody, your affiant respectfully requests that this affidavit, the
criminal complaint, and the arrest warrant be filed under seal until after the arrest of STECIUK.
Upon arrest, the United States Attorney’s Office will move to unseal the affidavit, complaint,

and warrant.

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I declare, after being duly sworn, that the foregoing is true and correct to the best of my

knowledge.

Anh Zlf
: Shayne E. Baichwald
Special Agent

Federal Bureau of Investigation

Subscribed and sworn to before me on the Lm day of August, 2014

r

TIMOTHY J;\SULLIVAN,~ 2.
UNITED'STATES MAGISTRATE JUDGE

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U.S. Department of Justice

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November 21, 2014 ae! AOA
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Baltimore, MD 21201 3 Mm OS
Ga qn ea
. ag
Re: United States v. Gary C. Steciuk,

Criminal Case No. ELH-14-0469

Dear Mr. Outlaw:

This letter, together with the Sealed Supplement, confirms the plea agreement
which has been offered to the Defendant, Gary C. Steciuk, by the United States Attorney’s
Office for the District of Maryland (“this Office”). If the Defendant accepts this offer, please
have him execute it in the spaces provided below. If this offer has not been accepted by close of

business on Friday, December 5, 2014 it will be deemed withdrawn. The terms of the agreement
are as follows:

Offense of Conviction

hs The Defendant agrees to plead guilty to Count One of the Indictment
currently pending against him, charging him with mail fraud, in violation of 18 U.S.C. § 1341.

The Defendant admits that he is, in fact, guilty of this offense and will so advise the Court.

Elements of the Offense

Z The elements of 18 U.S.C. § 1341, to which the Defendant has agreed to
plead guilty, and which this Office would prove if the case went to trial, are as follows:

a. First, that the defendant devised a scheme or artifice to defraud or obtain money
or property by materially false and fraudulent pretenses, representations, or
promises;

b. Second, that the defendant acted with the intent to defraud; and

Cc.

Third, that in advancing, furthering, or carrying out the scheme, the defendant
used the mails, or caused the mails to be used.
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Penalties

2, The maximum sentence provided by 18 U.S.C, § 1341, to which the
Defendant is pleading guilty, is as follows: twenty (20) years of imprisonment, a fine of not more
than $250,000 or twice the gross gain or loss caused by the offense, and five (5) years of
supervised release, In addition, the Defendant must pay $100 as a special assessment pursuant to
18 U.S.C. § 3013, which will be due and should be paid at or before the time of sentencing, This
Court may also order him to make restitution pursuant to 18 U.S.C. § § 3663, 3663A, and 3664.!
If a fine or restitution is imposed, it shall be payable immediately, unless, pursuant to 18 U.S.C.
§ 3572(d), the Court orders otherwise. The Defendant understands that if he serves a term of
imprisonment, is release on supervised release, and then violates the conditions of his supervised
release, his supervised release could be. revoked-even on the last day of the term-and the
Defendant could be returned to custody to serve another period of incarceration and a new term
of supervised release. The Defendant understands that the Bureau of Prisons has sole discretion
in designating the institution at which the Defendant will serve any term of imprisonment
imposed.

Waiver of Rights

4. The Defendant understands that by entering into this agreement, he
surrenders certain rights as outlined below: ,

a. If the Defendant had pled not guilty, he would have had the right to a
speedy jury trial with the close assistance of competent counsel. The trial could be
conducted by a judge, without a jury, if the Defendant, this Office and the Court all
agreed.

b. If the Defendant elected a jury trial, the jury would be composed of twelve
individuals selected from the community. Counsel and the defendant would have the
opportunity to challenge prospective jurors who demonstrated bias or who were
otherwise unqualified, and would have the opportunity to strike a certain number of
jurors peremptorily. All twelve jurors would have to agree unanimously before the
Defendant could be found guilty of any count. The jury would be instructed that the
Defendant was presumed to be innocent, and that presumption could be overcome only
by proof beyond a reasonable doubt.

c. If the Defendant went to trial, the government would have the burden of
proving the defendant guilty beyond a reasonable doubt. The Defendant would have the
right to confront and cross-examine the government’s witnesses. The Defendant would
not have to present any defense witnesses or evidence whatsoever. If the Defendant
wanted to call witnesses in his defense, however, he would have the subpoena power of
the Court to compel the witnesses to attend.

' Pursuant to 18 U.S.C. § 3612, if the Court imposes a fine in excess of $2,500 that remains unpaid 15 days

after it is imposed, the Defendant shall be charged interest in that fine, unless the Court modifies the interest
payment in accordance with 18 U.S.C § 3612(f)(3).
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d. The Defendant would have the right to testify in his own defense if he so
chose, and he would have the right to refuse to testify. If he chose not to testify, the
Court could instruct the jury that they could not draw any adverse inference from his
decision not to testify.

. If the Defendant were found guilty after a trial, he would have the right to
appeal the verdict and the Court’s pretrial and trial decisions on the admissibility of
evidence to see if any errors were committed which would require a new trial or
dismissal of the charges against him. By pleading guilty, the Defendant knowingly gives
up the right to appeal the verdict and the Court’s decisions,

f. By pleading guilty, the Defendant will be giving up all of these rights,
except the right, under the limited circumstances set forth in the “Waiver of Appeal”
paragraph below, to appeal the sentence. By pleading guilty, the Defendant understands
that he may have to answer the Court’s questions both about the rights he is giving up
and about the facts of his case. Any statements the Defendant makes during such a
hearing would not be admissible against him during a trial except in a criminal
proceeding for perjury or false statement.

g. If the Court accepts the Defendant’s plea of guilty, there will be no further
trial or proceeding of any kind, and the Court will find him guilty.

h. By pleading guilty, the Defendant will also be giving up certain valuable
civil rights and may be subject to deportation or other loss of immigration status. The
Defendant recognizes that if he is not a citizen of the United States, pleading guilty may
have consequences with respect to his immigration status, Under federal law, conviction
for a broad range of crimes can lead to adverse immigration consequences, including
automatic removal from the United States. Removal and other immigration
consequences are the subject of a separate proceeding, however, and the Defendant
understands that no one, including his attorney or the Court, can predict with certainty the
effect of a conviction on immigration status. The Defendant nevertheless affirms that he
wants to plead guilty regardless of any potential immigration consequences.

Advisory Sentencing Guidelines Apply

3 The Defendant understands that the Court will determine a sentencing
guidelines range for this case (henceforth the “advisory guidelines range”) pursuant to the
Sentencing Reform Act of 1984 at 18 U.S.C. §§ 3551-3742 (excepting 18 U.S.C. §§ 3553(b)(1)
and 3742(e)) and 28 U.S.C. §§ 991 through 998. The Defendant further understands that the
Court will impose a sentence pursuant to the Sentencing Reform Act, as excised, and must take

into account the advisory guidelines range in establishing a reasonable sentence.
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Factual and Advisory Guidelines Stipulation

6. This Office and the Defendant understand, agree and stipulate to the
Statement of Facts set forth in Attachment A hereto which this Office would prove beyond a
reasonable doubt, and to the following applicable sentencing guideline factors:

Count One — Mail Fraud

a. Pursuant to U.S.S.G. § 2B1.1(a)(1), the base offense level for this offense is 7;

b. Pursuant to U.S.S.G. §2B1.1(b)(1)(J), 18 levels are added because the Joss
amount was more than $2,500,000, but less than $7,000,000; ,

it Pursuant to U.S.S.G. § 2B1.1(b)(2)(A), 2 levels are added because the offense
involved more than 10 victims;

d. Pursuant to U.S.S.G. § 2B1.1(b}(16)(A), 2 levels are added because the defendant
derived more than $1,000,000 in gross receipts from one or more financial institutions as a result
of the offense;

ei Pursuant to U.S.S.G. § 2B1.1(b)(19), 4 levels are added because the offense
involved a violation of the securities laws, and at the time of the offense, the defendant was a
registered representative, associated with a securities broker/dealer;

t Pursuant to U.S.S.G § 3A1.1(b)(1), 2 levels are added because the defendant
knew or should have known that a victim of the offense was a vulnerable victim;

g. This Office does not oppose a two-level reduction in the Defendant’s adjusted
offense level, based upon the Defendant’s apparent prompt recognition and affirmative
acceptance of personal responsibility for his criminal conduct. This Office agrees to make a
motion pursuant to U.S.S.G. § 3E1.1(b) for an additional one-level decrease in recognition of the
Defendant’s timely notification of his intention to plead guilty. This Office may oppose any
adjustment for acceptance of responsibility if the Defendant (a) fails to admit each and every
item in the factual stipulation; (b) denies involvement in the offense; (c) gives conflicting
statements about his involvement in the offense; (d) is untruthful with the Court, this Office, or
the United States Probation Office; (e) obstructs or attempts to obstruct justice prior to
sentencing; (f) engages in any criminal conduct between the date of this agreement and the date
of sentencing; or (g) attempts to withdraw his plea of guilty. Therefore, assuming the
Defendant qualifies for acceptance of responsibility, the final adjusted advisory guideline
level for Count One after the adjustment for acceptance of responsibility is 32.

7. The Defendant understands that there is no agreement as to his criminal
history or criminal history category, and that his criminal history could alter his offense level if
he is a career offender or if the instant offense was a part of a pattern of criminal conduct from
which he derived a substantial portion of his income.

8. This Office and the Defendant agree that with respect to the calculation of
the advisory guidelines range, no other offense characteristics, sentencing guidelines factors,

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potential departures or adjustments set forth in the United States Sentencing Guidelines will be
raised or are in dispute.

Obligations of the United States Attorney’s Office

9. The parties stipulate and agree that, pursuant to Federal Rule of Criminal

Procedure 11(c)(1)(C), a sentence of one-hundred five (105) months in the custody of the
Bureau of Prisons is the appropriate disposition of this case. This agreement does not affect the
Court's discretion to impose any lawful fine or to set any lawful conditions of supervised release.
In the event that the Court rejects this plea agreement, either party may elect to declare the
agreement null and void. Should the Defendant so elect, he will be afforded the opportunity to
withdraw his plea agreement pursuant to the provisions of Federal Rule of Criminal Procedure
11(d)(2)(A). Should the Government so elect, it will be afforded the opportunity to proceed on
all counts of the Indictment.

10. As stated above, at the time of sentencing, the United States Attorney’s
Office will recommend a sentence of one-hundred five (105) months imprisonment, and will
move to dismiss the open counts in the Indictment pending against the Defendant.

11. The parties reserve the right to bring to the Court’s attention at the time of
sentencing, and the Court will be entitled to consider, all relevant information concerning the
Defendant’s background, character and conduct, including the conduct that is the subject of the
counts of the Indictment that this Office has agreed to dismiss at sentencing.

Waiver of Appeal

12. In exchange for the concessions made by this Office and the Defendant in
this plea agreement, this Office and the Defendant waive their rights to appeal as follows:

a. The Defendant knowingly waives all right, pursuant to 28 U.S.C. §
1291 or otherwise, to appeal the Defendant’s conviction;

b. The Defendant and this Office knowingly waive all right, pursuant
to 18 U.S.C. § 3742 or otherwise, to appeal whatever sentence is imposed (including the right to
appeal any issues that relate to the establishment of the advisory guidelines range, the
determination of the defendant's criminal history, the weighing of the sentencing factors, and the
decision whether to impose and the calculation of any term of imprisonment, fine, order of
forfeiture, order of restitution, and term or condition of supervised release), except as follows: (i)
the Defendant reserves the right to appeal any term of imprisonment to the extent that it exceeds
one-hundred five (105) months; (ii) and this Office reserves the right to appeal any term of
imprisonment to the extent that it is below one-hundred five (105) months.

c. Nothing in this agreement shall be construed to prevent the
Defendant or this Office from invoking the provisions of Federal Rule of Criminal Procedure
35(a), or from appealing from any decision thereunder, should a sentence be imposed that
resulted from arithmetical, technical, or other clear error.
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d.. The Defendant waives any and all rights under the Freedom of
Information Act relating to the investigation and prosecution of the above-captioned matter and
agrees not to file any request for documents from this Office or any investigating agency.

Tax Liability

13, The Defendant understands that this agreement does not resolve any civil
tax liability that he may have, and that this agreement is with the United States Attorney’s
Office, not with the Internal Revenue Service. The Internal Revenue Service is not a party to
this agreement and remains free to pursue any and all lawful remedies it may have.

Restitution

14. The Defendant agrees to the entry of a Restitution Order for the victims’
losses in the amount of $2,386,025.07, less any repayment of restitution or the discovery of the
repayment of restitution funds through other means. The Defendant agrees that, pursuant to 18
USS.C. §§ 3663, 3663A, 3664(h), 3563(b)(2) and 3583(d), the Court may order restitution of the
full amount of the actual, total loss caused by the offense conduct set forth in the factual
stipulation. The Defendant further agrees that he will fully disclose to the probation officer and
to the Court, subject to the penalty of perjury, all information, including but not limited to copies
of all relevant bank and financial records, regarding the current location and prior disposition of
all funds obtained as a result of the criminal conduct set forth in the factual stipulation. The
Defendant further agrees to take all reasonable steps to retrieve or repatriate any such funds and
to make them available for restitution. If the Defendant does not fulfill this provision, it will be
considered a material breach of this plea agreement, and this Office may seek to be relieved of its
obligations under this agreement.

Forfeiture

15. The Defendant agrees to forfeit to the United States all of his right, title,
and interest in any and all money, property, or assets of any kind, derived from or acquired as a
result of, or used to facilitate the commission of, the Defendant’s illegal activities.

16. The Defendant agrees to assist fully the United States in the forfeiture of
the foregoing assets. The Defendant agrees to take all steps necessary to pass to the United
States clear title to these assets, including but not limited to executing any and all documents
necessary to transfer his interest in any of the above property to the United States, assisting in
bringing any assets located outside the United States within the jurisdiction of the United States,
and taking whatever steps are necessary to ensure that assets subject to forfeiture are not sold,
disbursed, wasted, hidden or otherwise made unavailable for forfeiture. The Defendant further
agrees that he will not assist a third party in asserting a claim to the foregoing assets in an
ancillary proceeding.

17. The Defendant knowingly waives all constitutional, legal and equitable
defenses to the forfeiture of the foregoing assets, It is further understood that, in the event that
the United States files a civil action pursuant to either 18 U.S.C. § 981 or 21 U.S.C. § 881, or any
law enforcement agency initiates a forfeiture proceeding seeking to forfeit these assets, the
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Defendant will not file a claim with the Court or agency or otherwise contest such a forfeiture
action and will not assist a third party in asserting any such claim. It is further understood that
the Defendant will not file or assist anyone in filing a petition for remission or mitigation with
the Department of Justice concerning the forfeited assets,

18. | The Defendant agrees to identify all other assets and identify the sources
of income used to obtain all other assets, including identifying all assets derived from or acquired
as a result of, or used to facilitate the commission of, any crime charged in the Indictment. The
United States reserves the right to proceed against any remaining assets not identified in this
agreement, including any property in which the Defendant has any interest or control.

19. The Defendant understands that the court will, upon acceptance of his
guilty plea, enter an order of forfeiture as part of his sentence. The Defendant agrees to consent
to the entry of orders of forfeiture for such property and waives the requirements of Federal
Rules of Criminal Procedure 11(b)(1)(J), 32.2 and 43(a) regarding notice of the forfeiture in the
charging instrument, advice regarding the forfeiture at the change-of-plea hearing, announcement
of the forfeiture at sentencing, and incorporation of the forfeiture in the judgment. The Defendant
also agrees that he will not institute any challenge to the forfeiture in the post-trial ancillary
proceeding or at any other time, including a challenge to the court’s jurisdiction to enter the
order of forfeiture, and will assist this Office in opposing any such challenge if it is made. The
Defendant understands, however, that nothing in this Agreement precludes the Internal Revenue
Service or the Comptroller of Maryland from reviewing the tax liability of the Defendant, or
taking whatever steps may be required to collect taxes and penalties that may be owed to the
United States and/or the State of Maryland.

Collection of Financial Obligations

20. | The Defendant expressly authorizes the U.S. Attorney’s Office to obtain a
credit report in order to evaluate the Defendant's ability to satisfy any financial obligation
imposed by the Court. In order to facilitate the collection of financial obligations to be imposed
in connection with this prosecution, the Defendant agrees to disclose fully all assets in which the
Defendant has any interest or over which the Defendant exercises control, directly or indirectly,
including those held by a spouse, nominee or other third party.

21. The Defendant will promptly submit a completed financial statement to
the United States Attorney’s Office, in a form this Office prescribes and as it directs. The
Defendant promises that the financial statement and disclosures will be complete, accurate and
truthful, and understands that any willful falsehood on the financial statement will be a separate
crime and may be punished under 18 U.S.C. § 1001 by an additional five years’ incarceration
and fine.

Obstruction or Other Violations of Law
22. The Defendant agrees that he will not commit any offense in violation of

federal, state or local law between the date of this agreement and his sentencing in this case. In
the event that the Defendant (i) engages in conduct after the date of this agreement which would
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justify a finding of obstruction of justice under U.S.S.G. § 3C1.1, or (ii) fails to accept personal
responsibility for his conduct by failing to acknowledge his guilt to the probation officer who
prepares the Presentence Report, or (iii) commits any offense in violation of federal, state or
local law, then this Office will be relieved of its obligations to the Defendant as reflected in this
agreement. Specifically, this Office will be free to argue sentencing guidelines factors other than
those stipulated in this agreement, and it will also be free to make sentencing recommendations
other than those set out in this agreement. As with any alleged breach of this agreement, this
Office will bear the burden of convincing the Court of the defendant’s obstructive or unlawful
behavior and/or failure to acknowledge personal responsibility by a preponderance of the
evidence. The Defendant acknowledges that he may not withdraw his guilty plea because this
Office is relieved of its obligations under the agreement pursuant to this paragraph.

Court Not a Party

23. The Defendant expressly understands that the Court is not a party to this
agreement. In the federal system, the sentence to be imposed is within the sole discretion of the
Court. In particular, the Defendant understands that neither the United States Probation Office
nor the Court is bound by the stipulation set forth above, and that the Court will, with the aid of
the Presentence Report, determine the facts relevant to sentencing. The Defendant understands
that the Court cannot rely exclusively upon the stipulation in ascertaining the factors relevant to
the determination of sentence. Rather, in determining the factual basis for the sentence, the
Court will consider the stipulation, together with the results of the presentence investigation, and
any other relevant information. The Defendant understands that the Court is under no obligation
to accept this Office’s recommendations, and the Court has the power to impose a sentence up to
and including the statutory maximum stated above. The Defendant understands that if the Court
ascertains factors different from those contained in the stipulation set forth above, or if the Court
should impose any sentence up to the maximum established by statute, the defendant cannot, for
that reason alone, withdraw his guilty plea, and will remain bound to fulfill all of his obligations
under this agreement. The Defendant understands that neither the prosecutor, his counsel, nor
the Court can make a binding prediction, promise, or representation as to what guidelines range
or sentence the defendant will receive. The Defendant agrees that no one has made such a
binding prediction or promise.

Entire Agreement

24. This letter supersedes any prior understandings, promises, or conditions
between this Office and the Defendant and, together with the Sealed Supplement, constitutes the
complete plea agreement in this case. The Defendant acknowledges that there are no other
agreements, promises, undertakings or understandings between the Defendant and this Office
other than those set forth in this letter and the Sealed Supplement and none will be entered into
unless in writing and signed by all parties.
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if the Defendant fully accepts each and every term and condition of this agreement,
please sign and have the Defendant sign the original and return it to me promptly.

Very truly yours,

Rod J. Rosenstein
United States Attorney

By:

Gregory fX. Bockin
nited States-Attorney

] have read this agreement, including the Sealed Supplement, and carefully reviewed
every part of it with my attorney Lucius T. Outlaw, Esq. | understand it, and I voluntarily agree
to it. Specifically, | have reviewed the Factual and Advisory Guidelines Stipulation with my
attorney, and I] do not wish to change any part of it. | am completely satisfied with the
representation of my attorney.

IZJ1B/14 KS

Date Gary C. Steciuk

| am Lucius T. Outlaw, attorney for Gary C. Steciuk. I have carefully reviewed every part
of this agreement with him, including the Sealed Supplement. He advises me that he understands
and accepts its terms. To my knowledge, his decision to enter into this agreement is an informed
and vdluntgry one. ‘

nay = eeeK

Lucius T. Outlaw Esq.
Attorney for Gary C. Steciuk

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ATTACHMENT A: STATEMENT OF FACTS — GARY C. STECIUK

If the case had proceeded to trial, the Government would have proven the following facts
beyond a reasonable doubt. This statement of facts does not constitute all of the facts provable
by the Government.

At all times relevant to this case, GARY C. STECIUK (“STECIUK”), age 39, resided
in Buffalo Grove, Illinois and Heber Springs, Arkansas. STECIUK was a stockbroker, also
known as a registered representative, who had been licensed to sell securities since 2002, and
was employed at Capital Synergy Partners, a broker/dealer licensed by the U.S. Securities and
Exchange Commission to sell securities. STECIUK worked primarily out of his home in
Buffalo Grove, Illinois. In this position, STECIUK was authorized to sell a large array of
securities such as stocks, bonds, options, mutual funds, limited partnership programs and
variable annuities. STECIUK was also licensed to sell fixed annuities, which are an insurance
product. Ameritas Life Insurance Corporation (“Ameritas”) issues variable annuities, which are
securities regulated by the Securities and Exchange Commission, and STECIUK sold these
securities, among others.

In approximately 2002, STECIUK obtained Post Office Box 335 in Hampstead,
Maryland, 21074-0335. Using this Post Office Box, from in or about May, 2008, through and
including August, 2014, in the District of Maryland, and elsewhere, STECIUK knowingly and
willfully devised a scheme and artifice to defraud and obtain money from his clients. During the
course of the scheme, STECIUK established a business, College Funding Solutions, ostensibly
to provide investment advice to clients interested in investing and saving for college expenses. It
was a part of the scheme to defraud that STECIUK established a business bank account for
College Funding Solutions at BMO Harris Bank, a bank whose deposits are insured by the
Federal Deposit Insurance Corporation. The bank account number ended in 5105. STECIUK
created College Funding Solutions as a business that was unrelated to the financial services he
provided through his employment at Capital Synergy Partners. During the course of the scheme,
STECIUK established two additional bank accounts at EverBank, with bank account numbers
ending in 6094 and 7796. Everbank has its deposits insured by the Federal Deposit Insurance
Corporation.

Beginning in approximately May, 2008, STECIUK began to embezzle funds from his
clients’ investment accounts. These accounts were established and funded with client retirement
funds, and were maintained by the issuers of the annuities, such as Ameritas, STECIUK
submitted forged address change forms to change his clients’ address on file at the firm that
issued the annuities to “P.O. Box 335, Hampstead, Maryland, 20174-0335” (“P.O. Box 335”), a
P.O. Box he controlled. STECIUK then directed the investment firm to send investment funds
from his clients’ account by check to P.O. Box 335. The checks were sent in the clients’ true
names, Once the checks were sent to P.O. Box 335, STECIUK would forge his clients’
signatures on the back of the check, and deposit the checks into bank accounts he controlled,
including the BMO Harris Bank account ending in 5105, and the EverBank bank accounts
ending in 6094 and 7796.

STECIUK repeated this illegal activity on multiple occasions between May, 2008, and
August, 2014, utilizing multiple banks and bank accounts. STECIUK accomplished the scheme

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by directing the issuers holding the variable and fixed annuities to issue funds from his clients’
investment accounts into STECIUK’s control using a variety of fraudulent means. First,
STECIUK created fraudulent and unauthorized loans from the annuities for his benefit, he made
fraudulent and unauthorized withdrawals from his clients’ annuity accounts using forged transfer
forms and forged checks, and he liquidated the annuities in their entirety and stole the proceeds.
Second, in some instances, in order to conceal his fraudulent scheme, STECIUK would prepare
and file fraudulent transfer forms to transfer annuities from one investment firm to another.
STECIUK would forge his clients’ signatures in order to authorize the transfer. Third, in other
instances, STECIUK would prepare and file fraudulent forms to effectuate illega! withdrawals
of funds from annuity accounts, or to liquidate the entire annuity account. In some instances,
STECIUK embezzled funds from variable annuities, including annuities issued by Ameritas,
which are securities regulated by the Securities and Exchange Commission. In other instances,
STEICUK embezzled from fixed annuities, which are considered an insurance product.
STECIUK repeated this fraudulent activity for at least eighteen (18) clients, on multiple
occasions, and executed the scheme using multiple financial institutions to steal at least
$2,686,025.07, which was the amount STECIUK embezzled from his clients and used for his
own personal benefit, from May, 2008 through August, 2014, as indicated in the chart below:

Client Company | Policy/Account Date of Amount Description
Name # Statement
LJ Delaware Ending in 7975 | 06/30/2008 | $(10,006.75) | Unauthorized
Life Ins. Co. Withdrawal
Summary: | $(10,006.75)
Unauthorized
Withdrawals
V.K. ING Ending in 46-0X | 10/17/2013 | $(15,794.38) | Unauthorized
‘ Withdrawal
Summary: | $(15,497.38)
Unauthorized
Withdrawal
D.H.K. Lafayette Ending in 63590 | 01/09/2010 | $(60,000.00) Unauthorized
Life Ins. Co policy issue
D.H.K. ING Ending in 4872 | 01/21/2010 | $(60,000.00) | Unauthorized
policy issue
D.H.K. Lafayette Ending in 3590 | 03/04/2010 | $52,704.36 Issue Policy—
Life Ins. Co. transferred from
Allianz

03/02/10

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Client Company | Policy/Account Date of Amount Description
Name # Statement
D.H.K. Allianz Ending in 8054 | 11/21/2011 | $42,000.00 Unauthorized
Transfer from
Delaware Life
D.H.K Equitrust Ending in 381F | 10/21/2013 | $43,488.66 Unauthorized
Life Ins. Co. , Transfer from
Lafeyette
D.H.K ING Ending in 6865 | 10/23/2013 | $(20,000.00) | Unauthorized
Withdrawal
D.H.K ING Ending in 6865 | 11/19/2013 | $(2,389.00) Unauthorized
Withdrawal
D.H.K. ING Ending in 6865 | 11/20/2013 | $(11,283.00) | Unauthorized
Withdrawal
D.H.K ING Ending in 4872 | 12/10/2013 | $(26,309.00) | Unauthorized
, Withdrawal
D.H.K ING Ending in 4872 | 01/13/2014 | $(22,307.00) | Unauthorized
Withdrawal
D.H.K Fidelity & 02/06/2014 | $(26,250.00) | Unauthorized
Guaranty Withdrawal
Life
D.H.K. Fidelity & 03/03/2014 | $(29,550.00) | Unauthorized
Guaranty Withdrawal
Life
D.H.K. Fidelity & 04/08/2014 | $(3,600.00) | Unauthorized
Guaranty Withdrawal
Life
D.H.K. Fidelity & 05/06/2014 | $(21,866.96) | Unauthorized
Guaranty Withdrawal
Life
D.H.K. Equitrust Ending in 381F
Life Ins. Co.
Summary: | $(163,554.96) | $(258,193.02)
Unauthorized | Unauthorized
Withdrawals _| Transfers/Policy
F.L. Fidelity & 08/25/2011 | $(5,000.00) Unauthorized
‘Guaranty Withdrawal
Life
F.L. Fidelity & 10/03/2011 | $(3,000.00) Unauthorized
Guaranty Withdrawal
Life
FL. Sage Title 12/09/2011 | $(63,683.45) | Unauthorized
Group Withdrawal

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Client Company | Policy/Account Date of Amount Description
Name # Statement
F.L. Fidelity & 01/05/2012 | $(862.99) Unauthorized
Guaranty Withdrawal
Life
F.L. Fidelity & 09/27/2012 | $(10,000.00) | Unauthorized
Guaranty Withdrawal
Life
FL. Fidelity & 11/16/2012 | $(10,802.00) | Unauthorized
Guaranty Withdrawal
Life
F.L, Fidelity & ‘1 01/11/2013 | $(28,500.00) | Unauthorized
Guaranty Withdrawal
Life
F.L. Fidelity & 03/11/2013 | $(5,199.51) Unauthorized
Guaranty Withdrawal
Life
F.L. Fidelity & 06/11/2013 | $(23,150.00) | Unauthorized
Guaranty Withdrawal
Life
EL. Fidelity & 07/05/2013 | $(27,000.00) | Unauthorized
Guaranty Withdrawal
Life
F.L. Fidelity & 08/06/2013 | $(5,454.42) Unauthorized
Guaranty Withdrawal
Life
Summary: | (182,652.37)
Unauthorized
Withdrawals
J.A.M, Delaware Ending in 8524 | 05/13/2008 | $(10,000.00) | Unauthorized
Life Ins. Co Withdrawal
Summary: | $(10,000.00)
Unauthorized
Withdrawal
K.O. Ameritas Ending in 4428 | 07/14/2013 | $(14,500.00) | Unauthorized
Life Ins. Co. Withdrawal
K.O. Ameritas Ending in 4428 | 08/14/2013 | $(22,145.00) | Unauthorized
Life Ins. Co. Withdrawal
K.O. Ameritas Ending in 4428 | 09/14/2013 | $(14,750.00) | Unauthorized
Life Ins. Co. Withdrawal
K.O. Ameritas Ending in 4428 | 10/14/2013 | $(15,694.63) | Unauthorized
Life Ins. Co. Withdrawal

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Client ‘ompa Policy/Account Date of Amount Description
Name # Statement
K.O. ING Ending in 24- 07/18/2014 | $(300,000.00) | Unauthorized
Ox Withdrawal
K.O. Ameritas $(21,000.00) | Unauthorized
Life Ins. Co. Withdrawal
Summary: | $(388,089.63)
Unauthorized
Withdrawals
E.P. John Ending in 2820 | 06/20/2014 | $(224,890.00) | Unauthorized
Hancock Transfer to
Life Ins. Co. Reliance
Standard
E.P. Reliance 06/20/2014 | $224,890.00 | Unauthorized
Standard Issue Policy-
Transfer from
John Hancock
EP. Reliance 08/01/2014 | $(22,524.00) | Unauthorized
Standard Withdrawal
Summary: | $(22,524.00) | ($224,890.00)
Unauthorized | Unauthorized
Withdrawal Transfer/Policy
G.R. ING 06/11/2014 | $(55,832.46) | Unauthorized
Withdrawal
G.R. ING 06/17/2014 | $(46,127.12) | Unauthorized
Withdrawal
G.R. Great 07/14/2014 | $(300,000.00) | Unauthorized
American Withdrawal
Life Ins. Co.
Summary: | $(401,959.58)
Unauthorized
Withdrawals
L.S. & P.S. | Allianz Ending in 6020 | 12/22/2011 | $125,269.34 | Fraudulent
Policy Transfer
L.S. & P.S. | Equitrust

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Client Company Policy/Account Date of Amount Description
Name # Statement
L.S. & P.S Summary: | $(125,269.34)
Unauthorized
Policy Issues
or Transfers
L.S. ING Ending in 2569 | 04/20/2014 | $(41,200.00) | Unauthorized
Withdrawal
Summary: | $(41,200.00)
Unauthorized
Withdrawal
CT: JP Morgan 01/25/2010 | $(3,000.00) | Unauthorized
Chase : Withdrawal
CT PNC Bank 05/21/2010 | $(9,050.00) Unauthorized
Withdrawal
CAT. PNC Bank 12/20/2010 | $(16,500.00) | Unauthorized
Withdrawal
C.T. PNC Bank 03/17/2011 | $15,000.00) | Unauthorized
Withdrawal
CT. PNC Bank 04/19/2011 | $(7,000.00) Unauthorized
Withdrawal
C.T; PNC Bank 05/17/2011 | $(5,400.00) Unauthorized
Withdrawal
CT. PNC Bank 06/15/2011 | $(5,802.00) Unauthorized
Withdrawal
CT. PNC Bank 06/16/2011 | $(18,000.00) | Unauthorized
Withdrawal
CT. JP Morgan 12/21/2011 | $(11,779.85) | Unauthorized |
Chase Withdrawal
C.T. PNC Bank 05/10/2012 | $(20,158.00) | Unauthorized
Withdrawal
C.T. PNC Bank 03/05/2013 | $(2,400.00) Unauthorized
Withdrawal
C.T. PNC Bank 11/07/2013 | $(43.28) Unauthorized
Withdrawal —

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Cli Company | Policy/Account Date of Amount Description
N Statement
C.T Sun Life 06/10/2014 | $(5,719.91) Unauthorized
Financial Withdrawal
C.T PNC Bank 06/17/2010 | $(6,000.00) Unauthorized
Withdrawal
C.T. PNC Bank 07/19/2010 | $(6,500.00) Unauthorized
Withdrawal
CT. PNC Bank 08/02/2010 | $(758.29) Unauthorized
Withdrawal
G.T. PNC Bank 08/02/2010 | $(7,000.00) Unauthorized
Withdrawal
C.T, PNC Bank 09/16/2010 | $(2,206.35) Unauthorized
Withdrawal
C.T. PNC Bank 10/01/2010 | $1,035.00) Unauthorized
Withdrawal
C.T. PNC Bank 10/13/2010 | $(8,617.58) Unauthorized
Withdrawal
CT, PNC Bank 10/18/2010 | $(2,206.35) Unauthorized
Withdrawal
CT. PNC Bank 01/19/2011 | $(2,300.00) Unauthorized
Withdrawal
C.T. PNC Bank 03/07/2011 | $(4,314.42) Unauthorized
Withdrawal
C.T. PNC Bank 05/23/2011 | $(4,555.00) Unauthorized
Withdrawal
CT. PNC Bank 06/07/2011 | $(995.00) Unauthorized
Withdrawal
C.T. PNC Bank 06/16/2011 | $(905.00) Unauthorized
Withdrawal
C.T. PNC Bank 10/03/2011 | $(13,011.12) | Unauthorized
Withdrawal
GT, PNC Bank | 11/15/2011 | $(15,313.86) | Unauthorized
Withdrawal
CAT. PNC Bank 12/28/2011 | $(11,305.65) | Unauthorized
Withdrawal
C.T, PNC Bank 01/23/2012 | $(15,419.51) | Unauthorized
. Withdrawal
GT. Sun Life 02/24/2012 | $(5,016.72) Unauthorized
Financial Withdrawal

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Client Company | Policy/Account Date of Amount Description
Name # Statement
C.T. Sun Life 02/24/2012 | $(779.62) Unauthorized
Financial Withdrawal
C.T JP Morgan 03/26/2012 | $(15,231.87) | Unauthorized
Chase Withdrawal
Co. PNC Bank 06/14/2012 | $(15,236.12) | Unauthorized
Withdrawal
C.T. PNC Bank 07/12/2012 | $(10,154.00) | Unauthorized
Withdrawal
c.1. PNC Bank 05/31/2013 | $(850.00) Unauthorized
Withdrawal
Summary: | $(269,564.50)
Unauthorized
Withdrawals
JW. Allianz Ending in 6231 $146,737.76 | Rec'd
$117,243.98 &
$29,493.78
from
RiverSource
Summary: | $(146,737.76)
Unauthorized
Policy Issues
A.W. American 04/08/2013 | $(11,003.12) | Unauthorized
Nat’l Ins. Withdrawal
Co.
A.W. Liberty Life 11/07/2011 | $(10,000.00) | Unauthorized
Ins. Co. Withdrawal
A.W. Liberty Life 02/01/2012 | $(20,000.00) | Unauthorized
Ins. Co. Withdrawal
A.W. Liberty Life 03/21/2012 | $(15,000.00) | Unauthorized
Ins. Co. Withdrawal
A.W, Liberty Life 04/12/2012 | $(29,175.79) | Unauthorized
Ins. Co. Withdrawal
A.W. Liberty Life 06/14/2012 | $(20,000.00) | Unauthorized
Ins. Co. Withdrawal
A.W. Liberty Life 07/10/2012 | $(15,000.00) | Unauthorized
Ins. Co. Withdrawal

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Client Company | Policy/Account Date of Amount Description
Name # Statement
A.W. Athena 08/20/2012 | $(15,000.00) | Unauthorized
Annuity & Withdrawal
Life
Assurance
Co.
A.W. Athena 08/28/2012 | $(7,112.00) Unauthorized
Annuity & Withdrawal
Life
Assurance
Co.
A.W. Athena 09/18/2012 | $(27,752.19) | Unauthorized
Annuity & Withdrawal
Life
Assurance
Co.
A.W. American 12/14/2012 | $10,123.60) | Unauthorized
Nat’l Ins. Co Withdrawal
A.W. American 02/09/2013 | $(10,000.00) | Unauthorized
Nat’! Ins. Withdrawal
Co.
A.W, American 05/13/2013 | $(23,492.00) | Unauthorized
Nat’! Ins. Withdrawal
Co.
Summary: | $(213,658.70)
Unauthorized
Withdrawals
J.W. 08/18/2011 | $(9,985.00) Unauthorized
Withdrawal
JW. RBC 10/10/2012 | $(10,541.00) | Unauthorized
Withdrawal
JW. RBC 10/23/2012 | $(15,371.00) | Unauthorized
Withdrawal
J.W. RBC 11/14/2012 | $(7,154.09) Unauthorized
Withdrawal
J.W. RBC 02/14/2013 | $(4,890.00) Unauthorized
Withdrawal
Summary: | $(49,941.09)

Unauthorized
Withdrawals

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Client Company | Policy/Account Date of Amount Description
Name # Statement
RW. Delaware Ending in 2041 | 06/13/2011 | $(35,061.56) | Transfer to
Life Ins. Co American Nat’!
R.W. Delaware Ending in 1998 | 06/14/2011 | $(57,911.82) | Transfer to
Life Ins. Co American Nat’l
R.W. $(2,959.12) Unauthorized
Withdrawal
Summary: | $(2,959.12) ($92,973.38)
Unauthorized | Unauthorized
Withdrawal Policy Issues
S.W. Delaware Ending in 2039 | 12/28/2010 | $(1,880.67) Unauthorized
Life Ins. Co Withdrawal
S.W. Delaware Ending in 2039 | 03/01/2012 | $(35,109.96) | Transfer to
Life Ins. Co Allianz
S.W. Delaware Ending in 2039 | 03/01/2012 | $(765.86) Unauthorized
Life Ins. Co Withdrawal
Summary: | $(2,646.53) $(35, 109.96)
Unauthorized | Unauthorized
Withdrawals | Policy Transfer
Issues
CZ. John Ending in 3736 | 07/30/2014 | $(28,300.00) | Unauthorized
Hancock , Withdrawal
Life Ins. Co.
Summary: | $(28,300.00)
Unauthorized
Withdrawal
Total: $2,686,025.07

D.H.K. was one of STECIUK’s clients. As part of the scheme, and using the fraudulent
pretenses described above, STECIUK caused one of the annuity issuers to send via U.S. mail
Check 5681444 in the amount of $26,250.00 drawn on D.H.K.’s account, and made payable to
D.H.K. Check 5681444 was delivered via U.S. mail according to the direction thereon, which
was Post Office Box 335 in Hampstead, Maryland.

On or about February 19, 2014, STECIUK forged D.H.K.’s endorsement, and deposited
D.H.K.’s check into College Funding Solutions’ BMO Harris bank account ending in 5105, and

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used the fraudulent proceeds for his own purposes. D.H.K. had not authorized this transaction,
and STECIUK had not performed any services for D.H.K. requiring the payment of any money.
STECIUK created this transaction to obtain D.H.K.’s money under fraudulent pretenses, and
used the embezzled funds for his own personal use.

On or about February 6, 2014, within the District of Maryland and elsewhere, STECIUK
having knowingly and willfully devised the above-described scheme and artifice to defraud and
obtain money and property by materially false and fraudulent pretenses, representations, and
promises, knowingly caused to be delivered by U.S. Mail, according to the direction thereon the
following matter for the purpose of executing the scheme and artifice to defraud: an envelope
containing Fidelity & Guarantee Life Insurance Company Check No. 5681444 in the amount of
$26,250.00, made payable to D.H.K., P.O. Box 335, Hampstead, Maryland 21074.

During the aforementioned conduct, STECIUK knowingly, willfully, and unlawfully, by
the use of means and instrumentalities of interstate commerce, and the mails, directly and
indirectly, used and employed manipulative and deceptive devices and contrivances, to effect,
accept and facilitate a transaction involving a loan or borrowing of securities in contravention of
such rules and regulations as the Securities and Exchange Commission may prescribe as
necessary or appropriate in the public interest or for the protection of investors, to wit: effect and
facilitate a fraudulent loan from Ameritas Flexible Premium Variable Life Annuities, and did (a)
employ a device, scheme, and artifice to defraud; (b) make untrue statements of material facts
and omit to state material facts necessary in order to make the statements made, in light of the
circumstances under which they were made, not misleading; and (c) engage in acts, practices and
courses of business which would and did operate as a fraud and deceit upon others, in connection
with effecting, accepting, and facilitating a transaction involving fraudulent loans and borrowing
of securities in contravention of Securities and Exchange Commission rules and regulations.

For example, on the following dates, in his capacity as a stockbroker, STECIUK
knowingly, willfully, and unlawfully, by the use of means and instrumentalities of interstate
commerce, and the mails, directly and indirectly, used and employed manipulative and deceptive
devices and contrivances, to effect, accept and facilitate a transaction involving a loan or
borrowing of securities in contravention of such rules and regulations as the Securities and
Exchange Commission may prescribe as necessary or appropriate in the public interest or for the
protection of investors, and to defraud client K.O. with regard to variable annuities, securities
that are regulated by the Securities and Exchange Commission:

Date of Check Amount of Mailed to Bank Account
Check Number Check
11/14/2013 0006014345 $15,694.63 P.O. Box 335 BMO Harris
Hampstead, | ending in 5105
MD
09/11/2013 | 0006014212 $22,145.00 P.O. Box 335 BMO Harris
. Hampstead, ending in 5105
MD
10/03/2013 5210166229 $14,750.00 P.O. Box 335 BMO Harris
Hampstead, | ending in 5105
MD

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STECIUK used the fraudulent proceeds to support a lavish lifestyle, including
purchasing multiple homes for himself and others, as well as to support his extramarital affairs.
With regard to victims, STECIUK embezzled from his step-grandmother, his mother-in-law,
and numerous elderly victims, among others.

In addition to the aforementioned fraud scheme, STECIUK was appointed with Great
American Insurance (““GAI”) from October 2010 to July 23, 2013. On July 18, 2013, a GAI
investigator interviewed STECIUK, who confessed to forging annuitant’s signatures on policies.
STECIUK admitted to the investigator that he forged the name of client J.A. M. on the
application for GAI annuity, dated March 10, 2011, and transferred approximately $46,000 of
J.A.M.’s funds from Sunlife to GAI without her knowledge. STECIUK also admitted to forging
the name of S.S., J.A.M.’s mother, on a Fidelity and Guaranty Life annuity application to GAI.
STECIUK also admitted to forging the name of S.J. on the application for GAI annuity dated
November 1, 2012, and transferred funds of $70,000 without S.J.’s knowledge or consent. In
addition to J.A.M., S.S., and S.J., STECIUK admitted to the investigator that he also forged the
signature of N.R.

The total loss to clients resulting from STECIUK’s fraudulent scheme is $2,686,025,07,
which was the amount he embezzled from the clients’ accounts and used for his own personal
benefit, using the fraudulent means described above.

cee ke

I have read this statement of facts, and carefully reviewed it with my attorney. |
acknowledge that it is true and correct.

I2/[B/l¥ eo
Date . Gary C. SteciukK-———___

] am Gary C. Steciuk’s attorney. I have carefully reviewed that statement of facts with

~ hb 2 pel

a Lucius T. Outlaw, Esq.

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Sheet | - Judgment in a Criminal Case with Supervised Release (Rev. 11/2011) Judgment Page | of 6

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oo, U.S. DISTRICT COURT
United States District CUsttit oF taryiano
District of Maryland = 20/5 HAR 27 PH 5: 45

UNITED STATES OF AMERICA JUDGMENT IN A CREM i J GA
r 1, 1987)

(For Offenses Committed on or ov

Vv.

BY t
Case Number: ELH-1-1 eR

GARY CLARK STECIUK USM Number: N/A
Defendant’s Attorney: Lucius Turner Outlaw, III, AFPD

Assistant U.S. Attorney: Gregory Bockin

THE DEFENDANT:
& pleaded guilty to count _ One (1)
DC pleaded nolo contendere to count(s) , which was accepted by the court.
© was found guilty on count(s) after a plea of not guilty.
Date Count
Title & Section Nature of Offense Offense Concluded Number
18:1341 Mail Fraud 1/2008 — 8/2014 1

The defendant is adjudged guilty of the offenses listed above and sentenced as provided in pages 2
through 6 __ of this judgment. The sentence is imposed pursuant to the Sentencing Reform Act of 1984 as
modified by U.S. v. Booker, 125 S. Ct. 738 (2005).

O The defendant has been found not guilty on count(s)
& Counts 2-5 are dismissed on the motion of the United States.

IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and special
assessments imposed by this judgment are fully paid.

March 27, 2015
Date of Imposition of Judgment

Yor & Vollorter 3b7US

Ellen L. Hollander Date
United States District Judge

Name of Court Reporter: Mary Zajac
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Sheet 2 - Judgment in a Criminal Case with Supervised Release (Rev. 11/2011) Judgment Page 2 of 6
DEFENDANT: GARY CLARK STECIUK CASE NUMBER: ELH-1-14-CR-00469-001

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
for a total term of _ 105 months.

The court makes the following recommendations to the Bureau of Prisons: (1) that the defendant participate
in any substance abuse program for which he may be eligible including the Residential Drug Abuse Program;
and (2) that the defendant be designated to the _ FPC at Duluth for service of his sentence.

&J The defendant is remanded to the custody of the United States Marshal.
C] The defendant shall surrender to the United States Marshal for this district:

CI at a.m./p.m. on
C) as notified by the United States Marshal.

[) The defendant shal! surrender, at his/her own expense, to the institution designated by the Bureau of Prisons
at the date and time specified in a written notice to be sent to the defendant by the United States Marshal. If
the defendant does not receive such a written notice, defendant shall surrender to the United States Marshal:

C) before 2 p.m. on “

A defendant who fails to report either to the designated institution or to the United States Marshal as
directed shall be subject to the penalties of Title 18 U.S.C. §3146. If convicted of an offense while on
release, the defendant shall be subject to the penalties set forth in 18 U.S.C. §3147. For violation of a
condition of release, the defendant shall be subject to the sanctions set forth in Title 18 U.S.C. §3148. Any
bond or property posted may be forfeited and judgment entered against the defendant and the surety in
the full amount of the bond.

RETURN
I have executed this judgment as follows:
Defendant delivered on to at , with a certified copy of this judgment.
UNITED STATES MARSHAL
By:

DEPUTY U.S. MARSHAL
